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IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT ()F GEORGIA

BRUNSWICK DIVISION
lN RE: ROBERT J. THOMPSON, lll : CHAPTER 13
DOROTHY THOMPSON '
Debtors, CASE NO. 18-20369-MJK

 

TITLEMAX OF GEORGIA, INC.,
Movant,
JUDGE MICHELE J. KIM
vs.
ROBERT J. THOMPSON, IH
DOROTHY THOMPSON
M. ELAINA MASSEY, Trustee,
MOTION FOR RELIEF FROM AUTOMATIC STAY

COMES NOW TITLEMAX OF GEORGIA, INC., a secured creditor in the above~captioned
bankruptcy proceeding, and hereby requests relief from the automatic stay pursuant to Fed. R. Bankr.
P. 4001(a)(3) and Shows the Court as follows:

l.

On April 10, 2018, Dorothy Thompson obtained a loan from Movant and pledged her 2007
Chevrolet Avalanche as collateral g Pawn Transaction and Title of Certit`icate collectively attached
hereto as Exhibit “A” and incorporated herein by reference

2.
On April 30, 2018, Robert J. Thompson, IIl obtained a loan from Movant and pledged his

2006 Chevrolet Silverado as collateral §§Q Pawn Transaction attached hereto as Exhibit “B” and

incorporated herein by reference

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3.

Dorothy Thompson and Robeit J. Thompson, lll, (“Debtors”) specifically granted Titlel\/lax
of Georgia, lnc. a security interest in Debtors’ personal property, to wit; 2007 Chevrolet Avalanche
and 2006 Chevrolet Silverado.

4.

Debtors have thus far failed to redeem or renew the pawn transactions since going into default
Nonetheless, Debtors remains in possession of the 2007 Chevrolet Avalanche and Chevrolet
Silverado.

5.

Debtors filed the bankruptcy petition on June l, 2018. To the extent Debtors were entitled to
a 60~day redemption period pursuant to ll U.S.C. § 108(b), Debtors have failed to make any attempt
to redeem the pledged property to date. Because Debtors failed to pay pursuant to the express terms
of the contracts or during any applicable statutory grace or redemption period, all ownership interest
of the Debtors in the pledged property has been or shall be extinguished

6.

A debtor’s ownership interest in an item of property pledged in a pawn transaction is forfeited
if it is not timely paid or redeemed Pledged goods may be redeemed by the pledgor only by full
payment of any unpaid fees and charges, the repayment of the principal, and the payment of the
additional interest Pledged goods not redeemed shall be immediately forfeited to the pawnbroker by
operation of law and any ownership interest of the pledgor in the pledged item shall be automatically
extinguished O.C.G.A. § 44-14-403(b)(3); Titlemax v. Northington, No. 16-17467 (l l‘h Cir., Dec.

11,2017).

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7.

When a debtor does not timely redeem prior to the filing of the debtor’s bankruptcy petition,
the pledged property is not property of the bankruptcy estate as defined in ll U.S.C. § 541 and is not
property within the bankruptcy court’s vested jurisdiction “A chapter 13 plan may not provide for
disposition of property which is not property of the estate as defined in ll U.S.C. § 541 and the fact
of plan confirmation cannot bind a property owner to a plan provision disposing of his property rights
when such property is not within the Court’s vested jurisdiction” ln re Howard, 507 B.R. 394, at 399
(Bankr. N.D. Ga. 2014); Accord Titlemax v. Northington, No. 16-17467 (l lth Cir., Dec. ll, 2017).

8.

To the extent Debtors failed to pay or redeem prior to the filing of the bankruptcy petition, the
proposed plan provides for the payment and/or surrendering as to property which was not property of
the bankruptcy estate when the Debtors filed the petition. To the extent Debtors were entitled to a
60-day redemption period pursuant to ll U.S.C. § lOS(b), Debtors failed to make any attempt to
redeem the pledged property in full to date and thus all ownership interest of the Debtors in the
pledged property has been or shall be extinguished Thus, the proposed plan would still provide for
the payment of a debt or surrendering of property which is not property of the bankruptcy estate.

9.

Based upon Debtors’ action and the existing law, l\/lovant is the de facto owner of said
collateral listed above and is entitled relief from the automatic stay to repossess said collateral.

WHEREFORE, Titlel\/lax of Georgia, lnc. prays that the Court enter an Order:

(a) Granting this l\/lotion;

(b) Terminating the stay imposed by ll U.S.C. § 362 so that Titlel\/lax of Georgia, Inc.
may exercise all rights and remedies against the vehicles under the agreement, including but not

limited to repossession of the security interest; and

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(c) Granting 'l`itlel\/lax of Georgia, lnc. such other and further relief the Court deems just
and proper.

Respectfully submitted this 24th day of July, 2018.

 

THE BOWEN LAW GROUP
7 East Congress Street /s/ Charles J. Bowen
Suite 1001 CHARLES J. BOWEN
Savannah, GA 31401 Georgia State Bar No. 071115
(912) 544-2050 Az‘torneyfor Movarzt

(912) 544-2070 (fax)
cbowen@thebowenlawgroup. com

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Written Disclosure Ticket PAWN TRANSACTlON
ORlGlNAL ACCOUNT NUMBER: ACCOUNT NUMBER PAWN TlCKET NUMBER: DATE/TlME OF PAWN MATURITY DATE
04/10/2018 05/10/2018
PLEDGOR lNFORMATlON: CO-PLEDGOR lNFORMATlON:
FlRST NAME: MlDDLE NAME: LAST NAME: CO-PLEDGOR FlRST MlDDLE NAME: CO-PLEDGOR LAST NAME:
DORTHY JlMANN THOMPSCN NAMEI
PLEDGOR SSN: PHOTO lD. NO.: CO~PLEDGOR SSN: CO~PLEDGOR'S PHOTO lD. NO.:
3911
PLEDGOR STREET ADDRESS: CO-PLEDGOR ADDRESS:
1219 OAK STREET
ClTY: STATE ZlP CODE: RACE: ClTY: STATE: ZlP CODE RACE:
JESUP GA 31545
HElGHT WE|GHT BlRTl-i DATE: SEX: HElGHT WE|GHT BiRTH DATE: SEX:
PAWNBROKER NAME: TrtieNaxot PAWNBROKER HOURS OF OPERATlON: Monday to Friday 9 A.M. to 7 P.M., PAWNBROKER PHONE NUMBER:
Georgia, lnc,d/o/a TitleMax Saturday'lDA.M. to 2 P.M., Closed Sunday (912)427-0337
PAWNBROKER STREET ADDRESS: PAWNBROKER ClTY: PAWNBROKER STATE: PAWNBROKER ZlP
108 ALLlSON STREET JESUP GA CODEI 31545
MOTOR VEHICLE lNFORMAT|ON: VEHlCLE lDENTlFlCATlON NUMBER TlTLE STATE: L|CENsi= or A~ri: VEH|CLE CERTlFlCATE OF TlTLE
(VlN): 3GNE012087G306134 GA NUMBER: 770819072984072
VEH|CLE YEAR VEH|CLE MAKE VEHlCLE MODEL: DOORS CYLlNDERS: COLOR: ODOMETER
2007 CHEVROLET AVALANCHE 08 Cyl WHtTE 194908

 

 

 

 

 

 

 

 

 

|n this Written Disclosure Ticl<et the words "this document." “Pawn Transaclion," “Pawn Ticket,' “this transaction," and "the transaction” are defined as they are in
O.C.G.A. § 44~12-130 et seq. and mean this signed agreement including the Waiver of Jury Trial and Arbitration Clause. The words “you,” “your," “seller,” “pledgor,"
and "co-pledgor" mean the pledgor and/or co~pledgor identihed above who have signed this Pawn Ticket. The words "we," “us," “our," and “Pawnbroker` mean TitleMax
of Georgia, lnc. dlbla TitleMax a pawnbroker licensed under and operating pursuant to the Georgia Code sections relating to pawnbrokers, including O.C.G.A. §
44-12-130, et seq. and O.C.G.A. § 44-14-400, et seql The words "Motor Vehic|e,” and “Pawned ltem" mean the Motor Vehicle identihed above. The words "Title,”
“Certiticate of Title," "Pledged Goods,” “Merchandise,“ and “Pledged ltems” mean the Nlotor Vehicle Certiticate of Title identihed above The word ‘Pawn" means the
pawn covered by this Pawn Ticket.

 

This is a pawn transaction Failure to make your payments as described in this document can result in the loss of the pawned item. The pawnbroker
can sell or keep the item if you have not made all payments by the specified maturity date. Failure to make your payment as described in this document
can result in the loss of your motor vehicle. The pawnbroker can also charge you certain fees if he or she actually repossesses the motor vehicle.

 

 

 

You hereby grant to us a security interest in your Motor Vehicle. in consideration of your payment of $ 6,311.99 (which is the cost to the seller or pledgor to redeem the
_ merchandise in this period of the transaction), delivery to us of the Motor Vehicle's Certiticate of Title, and agreement to pay all of the fees. sums, interest changes, and

amounts pursuant to O,C.G.A. §44-12-130 etseq. and disclosed herein, we agree to lend you 3 5686.99 (“Principal Amount"). Pursuant to O.C.G.A. § 44~12-

137(7), please note that we are not making any agreement requiring the personal liability of a pledgor. Therefore, it you choose to redeem or repurchase the

Pledged Goods, then you must pay us in cash the Total of Payments listed below on the Specitied Maturity Date of the Pawn Transaotion, which is 05/10/2018 (hereinaiter

the “Specitic Maturity Date“); however, if the Specihc Maturity Date falls on a day in which we are not open for business then you must pay us on the next business

day. We do not accept personal checks. '

FEDERAL TRUTH-lN-LENDlNG DlSCLOSURES

 

 

 

ANNUAL FlNANCE Amount Total of Payments
PERCENTAGE RATE ~ CHARGE Financed
The cost of your credit as a The dollar amount the The amount of credit T_he amount you Wl" have
yearly rate. credit will cost you. provided to you or on Pa’d after you have made an
your behaif_ payments as scheduled.
133.71 % $ 625.00 $5,686.99 $§,_311_-9§___.____

 

 

 

 

 

 

 

Payment Schedule: One payment in the amount ot $ 6,311.99 due onThursday (day Of Week), May (morith) 10 (day), 2018

Security: You are giving a security interest in the Motor Vehicle.

Filing Fee: 0.00

Prepayment: lt you pay off early, you will not be entitled to a refund of part of the hnance charge.

See the terms below and on the other pages of this Written Disclosure Ticket for any additional information about nonpayment default and lack of prepayment
relunds.

 

 

 

 

  

Any comments or ,
TM-GA~Customer Agreement-V.2.2.03.03.20 l 6

ig toll~free number. (800)804-5368
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ADDl`l'lONAL TERMS AND COND|T|ONS OF THlS WRlTTEN DlSCLOSURE TlCKET

itemization of Amount Financed of 5,686.99

$ 0.00 Amount given to you directly

$ 5.686.99 Amount paid on account nc with us.
Amount paid to others on your behalf:

$ 0.00 Amount paid public ofhciais for title fees

$ NIA Amount to N/A

$ N/A Amount to N/A

Prepayment You may prepay in full at any time the fees, sums, charges, interest and amounts owing under this Written Disclosure Ticket and will not incur an additional
charge or fee. However, because we earn all interest and pawnshop charges upon your' execution of this Written Disclosure Tickef, you will not be entitled to a rebate
and refund of any part of the Finance Charge. Likewise, you may prepay any extension of this Written Disclosure Ticket, and will not incur an additional charge orfee.
However, because we earn all interest and pawnshop charges as of the date of the extension or continuation of this Written Disclosure Tickei, you will not be entitled
to a rebate and refund of any part of the Finance Charge.
Rescission: We will rebate and refund the Finance Charge we have earned and any fees to be paid to public cincials, if at any time prior to the close of business on
the business day immediately following the date of this Pawn Ticket, you prepay to us in cash the Amount Financed in full satisfaction of your obligations under this
Pawn Ticket.
Length of the Pawn Transaction, interest and Pawnshop charges, Extension or Continuation, and Costto Redeem. The length of the original Pawn Transaciion
is thirty days and it can only be renewed with the agreement of both parties and only for 30day incremental periods The provisions of this paragraph regarding
extensions or continuations are limited to the extent we may choose to cease doing business with you. Furthermore, if you request additional funds or request a change
in your Specified Maturity Date, then we will ask you to sign an agreement documenting same. if you do not request additional fundsl the original Pawn Transaction
shall be considered to have been extended or continued unless: (a) All charges fees, and the principal have actually been paid or repaid on the previous Pawn
Transaction; (b) The Certificate of Title, has actually been restored to your possession; and (c) The Motor Vehicle in the previous transaction has been removed from
our business premises and any lien on the Certihcate of Title has been removed or released lf the principal amount is not paid on the Specihc Maturity Date or the
extended maturity date, but you pay the fees, sums, interestl charges and other amounts owing to us, then the Written Disclosure Ticket will be extended or continued for
an additional 30day period The extended maturity date shall be thirty days after the Specihc Maturity Date or previous extended maturity date. Pursuant to O.C.G.A.
§44-12-138(b) (5)-(8), please note the following rates on an annual basis and pay off amounts assume that (i) only the principal amount advanced iii original Pawn
Ticket is outstanding (ii) that no payments have been made to reduce the principal amount advanced iri the original Pawn Ticket, and no additional funds have been
advanced to you subsequent to signing the original 30 day Pawn Ticket; (iii) all fees and charges on the original transaction have been kept current and that the annual
rate is computed as if all interest and pawnshop charges were considered to be interest Given the assumptions stated above, please note as follows For the original
30~day term, and two renewal terms in which the Pawn Transaction might be continued or extended (a total of 90 days): (i) Pawnbroker may charge for each 30~day
period interest and pawnshop charges which together equal no more than 25 percent of the principal amount advanced with a minimum charge of up to $10.00 per
30day period; (ll) it will cost the seller or pledgor $ 4499.76 to redeem the ivierchandise; and (iii) the rate on an annual basis for these 30 day periods is
145.8800 %. After three 30day terms (an initial 30-day term and two renewal terms»-a total of 90 days): (1) Pawnbroker may charge for each 30day period
interest and pawnshop charges which together equal no more than 12.5 percent of the principal amount advanced, with a minimum charge of up to $5.00 per 130-day
period; (2) it will cost the seller or pledgor 3 4499.76 to redeem the Merchandise; and (3) the rate on an annual basis each 130-day renewal term is 145.8789 %.
lf you have signed an agreement subsequent to the original agreement to receive additional funds, move the Specihed Maturity Date and/or paid any amount toward
the principal, then your current payoff information no longer fits within these narrow statutory assumptions As such the federal Truth-ln-Leriding disclosures in the
agreement you sign will provide you with the updated payoff amount information (cost to redeem the Merchandise) and the rate on an annual basis Upon renewal, all
terms of this Written Disclosure Ticket shall continue in effect, including the Waiver ofJury Trial and Arbitration Ciause. Upon payment in full of all amounts owing, we
will return the Pledged Goods unless such have been taken into custody by a court or by a law enforcement office or agency.
Default and Grace Period. if you choose to forgo paying us on the Specific Maturity Date or the extended maturity date, then pursuant to O.C.G.A. §§44-12-131 and
44-12-138 you will be in “default" and a "grace period" governs our relationship The Pledged Goods may be redeemed for thirty days after the Specific Maturity Date
or the extended maturity date. The grace period shall begin running on the hrst day following the Specified Maturity Date of the Pawn Transaction or on the first day
following the expiration of any extension cr continuation of the Pawn Transaction, whichever occurs later. The grace period shall be 30 calendar days ln the event
that the last day of the grace period falls on a day in which we are not open for business the grace period shall be extended through the hrst day following upon which
we are open for business We will not sell the Pledged Goods during the grace period You may redeem the Motor Vehicle within the grace period by the payment of
any unpaid accrued fees and charges the repayment of the principal, and the payment of an additional interest charge riot to exceed 12.5 percent of the principal. To
redeem the Pledged Goods in the grace period immediately foi|owing the Specihc Maturity Date, you must pay $ 6936.99 . You must contact the store forihe
amount to redeem the Pledged Goods during a grace period alter an extended maturity date if the Motor Vehicle is not redeemed within the grace period it shall be
automatically forfeited to us by operation of O.C.G.A. §44-14-403, and any of your ownership interest in the Motor Vehicle shall automatically be extinguished After
the grace period the Pledged Goods become the property of the Pawnbroker.
Recovery and Storage. lf you are in default we have the right to take possession of the Motor Vehicle. in taking possession we or our agent may proceed without
judicial process if this can be done without breach of the peace or may proceed by action as set forth in the Waiver of Jury Trial and Arbitration Ciause. You agree to
pay a recovery fee, the amount of which will be based upon the distance we travel from our offce to recover the Motor Vehicle. You agree to pay a recovery fee of
$50.00 if we recover the Motor Vehicle within 50 miles of the office where the Pawn Transaction originated a recovery fee cf $100.00 for recoveries within 51 to 100
miles, a recovery fee of $150.00 for recoveries within 101 to 300 miles and a recovery fee of $250.00 for recoveries beyond 300 miles. The recovery fee will be charged
only if an actual recovery pursuant to a default takes place on a Motor Vehicle which was not already in our possession You agree to pay a storage fee for a recovered
Motor Vehicle not to exceed $5.00 per day, but only if we actually recover and retain possession of the Motor Vehicle.
Lien information, Additionai Fees and Charges, and Redeeming the Titie. You agree to pay us a fee to register a lien upon the Motor Vehicle Title, not to exceed
any fee actually charged by the appropriate state to register a lien upon a Mofor Vehicle Titie, but only if we actually place such a lien upon the Motor Vehicle Title. We
have a lien on the Motor Vehicle pawned for the money advanced interest and pawnshop charge owed but not for other debts due to us. We may retain possession
of the Pledged Goods until the lien is satisfied and may have a right of action against anyone interfean therewith Any costs to ship the Pledged items to the pledgor
can be charged to the pledgor, along with a handling fee to equal no more than 50 percent of the actual costs to ship the Pledged items Pledgor agrees that whoever
properly identities himself or herself and presents this Pawn Ticket is presumed to be the pledgor and is entitled to redeem the ivlotor Vehicle. if this Pawn Ticket is
lost, destroyed or stolen, the pledgor should immediately advise the Pawnbroker in writing You agree to pay a fee of up to $2.00 for each lost or destroyed Pawn
Ticket Pursuant to O.C.G.A. §44»1441 1.1 if we recover the Motor Vehicle and thereby obtain possession of any personal property found in such Motor Vehicle, we
shall have a lien on such property for any reasonable expenses incurred in storing such property and in giving notice to such owner.

Any comments or questions may be directed to Customer Service at the following toll-free number (800)804~5368
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ADDlTlONAL TERMS AND CONDlTiONS OF THlS WRiTTEN DlSCLOSURE T|CKET

Governing Law and Assignment. This Written Disclosure Ticket shall be governed by the laws of the State of Georgia, except that the Waiver of Jury Trial and
Arbitration Ciause is governed by the Federal Arbitration Act (“FAA”). We may assign or transfer this Written Disclosure Ticket or any of our rights hereunder.
Notices and Waivers. We will send notices to you at your address on page l, and we meet our duty to give you notice when we mail it. You must send all notices to
us to: TitleMax of Georgia, inc., ATTN: Legai Department, P.O. Box 8323, Savannah, Georgia 31412 (the ”Notice Address"). We may waive or delay enforcing our
rights without losing them. We may sue or arbitrate with one or more persons without joining or suing others

information Sharing; Credit Reporting. You allow us to make inquiries about your credit history. if you believe that you have been the victim of identity theft in
connection with your Pawn. write to us at the Notice Address. in your letter: (a) provide your name and Pawn number, and (b) submit an identity theft attdavit or identity
theft report

Teiephone Recording. You agree that we may monitor and record any phone conversation you have with us

Automatic Reminders. We may use automated telephone dlaiing, text messaging systems and emaii to provide messages to you about the Maturity Date and other
important information The telephone messages may be played by a machine when the telephone is answered, whether answered by you or someone else. These
messages may also be recorded by your answering machine. You give us your permission to call or send a text message to any telephone number you give us. This
includes cell phone and iand|ine numbers You give us permission to play pre-recorded messages or send text messages with information about your Pawn over the
phone. You also give us permission to send such information to you by email. You agree that we will not be liable to you for any such calls or communications ¥ou
understand that you may get a charge from your phone or lnternet company. You agree that we have no liability for such fees

Bankruptcy Notices. Any notice to us under the Federai Bankruptcy Code must be in writing. must include your Pawn number, and must be sent to the Notice Address.
Notice and Cure. Before starting a lawsuit or arbitration regarding a legal dispute or claim relating to this Pawn Ticket, the Motor Vehicle or the Pawn (the “Dispute"),
the party filing the Dispute (the “Claimant”) will give the other party (the “Defending Party") written notice of the Dispute (a “Dispute Notice”) and not less than 30 days
to resolve the Dispute. Any Dispute Notice to you will be sent by mail or email to the address you gave on your Application (or any address you have since given us).
Any Dispute Notice to us will be sent by mail to the Notice Address. Any Dispute Notice you send must include your Pawn number, mailing address and telephone
number. lt must explain the nature of the Dispute and the relief requested The Claimant must provide any information about the Dispute that the Defending Party
requests

WAiVER OF RiGHT TO TRiAL BY JURY. YOU AND WE ACKNOWLEDGE THAT THE RiGHT TO TRiAL BY JURY iS A CONSTiTUTlONAL RiGHT. THlS RiGHT
MAY BE WAiVED UNDER CERTAiN CONDlTiONS AS ALLOWED BY l.AW. YOU AND WE KNOWiNGLY AND VOLUNTARiLY WAiVE ANY RiGHT TO TRiAL
BY JURY iN THE EVENT OF LlTiGAT|ON ARlSiNG OUT OF OR RELATED DiRECTLY GR lND|RECTLY T0 EACH 0F THE FOLLOWlNG: (A) THlS PAWN
TiCKET; AND (B) THE FAWN THAT iS THE SUBJECT OF THlS PAWN TlCKET. THlS JURY TRiAL WAiVER WlLL NOT CHANGE ANY ARBiTRAT|ON CLAUSE
TO WHlCH YOU AND WE ARE SUBJECT, WHlCH CONTAiNS iTS OWN SEPARATE JURY TRiAL WAiVER.

JURY TRiAL WAiVER AND ARBlTRATlON CLAUSE. By signing belowl you agree to this Jury Trial Waiver and Arbitration Ciause (“Clause”). We have drafted this
Ciause in question and answer form so it is easier to understand This Ciause is part of this Pawn Ticket and is legally binding.
Background and Scope.

 

 

 

 

 

 

 

 

 

 

 

 

Question Short Answer Further Detaii
What is . in arbitration, a third party Arbiter (“TPA") solves Disputes in a hearing (“hearing”). lt is less fonnai than a
arbitration? An anal-name to court court case.
Lso';rc:i;f:ge.:t from Yes The hearing is private There is no jury. it is usually less formai, faster, and less costly than a lawsuit Pre
trials? 1 ry hearing fact hnding is limited Appeais are limited Courts rarely overturn arbitration awards
if you do not want this Ciause lo apply, you must tell us in writing within 60 calendar days after signing this
Can you opt-out of yes within 60 da s Pawn Ticket. Send your signed, written notice to the Notice Address. Give your name, address Pawn
this Clause? ’ y number and Pawn date. State that you “opt out” of the arbitration ciause. We do not allow electronic
delivery.
What is this Ciause The parties’ agreement You and we agree that any party may arbitrate or demand arbitration of any ”Dispute,“ unless you opt out or
about? to arbitrate Disputes the law does not allow il.
This Ciause covers you and us. it also covers certain 'Reiated Parties.' These include: (i) our parent
Who does the You, us, and certain companies subsidiaries and afhiiates; (2) our employees directors officers shareholdersl membersl and
Ciause cover'? "Related Parties" representatives; and (3) any person or company that is involved in a Dispute that you pursue at the same
time you pursue this Dispute (tor example a recovery company).
This Ciause covers Disputes that would usually be decided in court and are between us (or a Reiated Party)
and you. in this Ciause, the word Disputes has the broadest meaning. lt includes all claims related to your
Most Disputes that application, this Pawn Ticket, the Motor Vehicie, the Pawn, any Other Pawn or your relationship with us. it
What Disputes would normally go to includes claims related to any prior applications or agreements it includes extensions renewals
does the Ciause court (except certain retinancings, or payment plans lt includes claims related to collections privacy, and customer information lt
cover’? Disputes aboutthis includes claims related to the validity of this Pawn Ticket. But, it does not include disputes about the
Clause) validity, coverage, or scope of this Ciause or any part of this Ciause. These are for a court and not the
TPA to decide. Also, this Ciause does not cover our taking and selling the Motor Vehicle. lt does not
cover any individual case you file to stop us from taking or selling the Motor Vehicle.
Arbitrations are conducted under this Ciause and the rules of the arbitration company. Arbitration rules that
conflict with this Ciause do not appiy. The arbiuation company will be eithen
Who handles the ~ The American Arbitration Associalion ("AAA"), 1633 Broadway, 10ih Fioor, New Yorkl NY 10019,
arbitration? Usualiy AAA or JAMS Ww_adfcorg_
- JAMS, 620 Eighth Avenue, 34th Fioor, New York, NY 10018, www.iamsadr.org
o Any other company picked by agreement of the parties

 

Any comments or questions may be directed to Customer Service at the following toll-free number. (800)804-5368
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ADDiTlONAL TERMS AND CONDlTlONS OF THlS WRlTTEN DISCLOSURE T|CKET

 

if all these options are unavailabie, a court will pick the arbitration company. But, no arbitration may be
administered without our consent by an arbitration company that would permit class arbitration under
this Ciause.

The TPA will be selected under the arbitration company's rules The TPA must be a lawyer with at least ten
years of experience or a retired judge, unless you and we othenrvise agree.

 

Either party may bring a lawsuit if the other party does not demand arbitration We will not demand arbitration

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

attorneys' fees?

 

 

 

:::un;;pt:t:::§? Sometimes of any lawsuit you bring as an individual in small claims court But, we may demand arbitration of any appeal
g of a small claims decision or any small claims action brought as a class
For Disputes subject to this Ciause, you give up your right to:
1. Have juries decide Disputes
_ ' 2 Have courts, other than small claims courts, decide Disputes
;\r:; ;;T\?S',:mg up Yes 3 Serve as a private attorney general or in a representative capacity.
4. Join a Dispute you have with a dispute by other consumers
5 Bring or be a class member in a class action or class arbitration
We also give up the right to a jury trial and to have courts decide Disputes we wish to arbitrate
Can u |_ namer The TPA is gp_t allowed to handle a Dispute on a class or representative basis Aii Disputes subject to
cons¥:ne‘: S;rt No this Ciause must be decided in an individual arbitration or an individual small claims action This Ciause will
class arbitration be void if a court rules that the TPA can decide a Dispute on a class basis and the court’s ruling is not
reversed on appeal
The Federal Arbitration This Pawn Ticket and the Pawn involve interstate commerce The FAA governs this Ciause. The TPA must
What law applies? Act (“FAA,,) apply law consistent with the FAA. The TPA must honor statutes of limitation and privilege rights Punltive
damages are governed by the constitutional standards that apply in judicial proceedings
:`:;|L:n§:i?£g°u NO This Ciause stays in force if you: (i) cancel the Pawn; (2) defau|i, renew, prepay or pay your Pawn in fuii; or
C|aus§? (3) go into bankruptcy
Process.
Question Short Answer Further Detaii
Before starting a lawsuit or arbitration the complaining party must give the other party written notice of the
What usf ou d Dispute. The notice must explain the nature of the Dispute and any supporting facts. if you are the
befor:stan¥n a o Send a written Dispute complaining party, you must send the notice in writing (and not electronically) to our Notice Address. You, or
l su.t r g notice and work to an attorney you have hired, must sign the notice You must give your Pawn number and a phone number
a:.tr;t.° ? resolve the Dispute where you (or your attorney) can be reached if we send you a collections letter, this will be your written ,
ar ' '°n notice of a Dispute. Once a Dispute notice is sent, the complaining party must give the other party a chance
to resolve the Dispute on an individual basis over the next 30 days
if the parties do not come to an agreement to resolve the Dispute within 30 days after the notice of the
F now.n the rules of Dispute is received the complaining party may start a lawsuit or arbitration To start arbitration the
How does th‘; arblitgau°n complaining party picks the arbitration company and follows their rules if one party begins or threatens a
arbitration start? 0 n lawsuit, the other party can demand arbitration This demand can be made in court papers it can be made if
c mpa y a party begins a lawsuit on an individual basis and then tries to pursue a class action Once an arbitration
demand is made, no lawsuit can be brought and any current lawsuit must stop.
Wiii any hearing be Ye The TPA may decide that an in person hearing is not needed and that a Dispute may be resolved in writing
held nearby? s and by conference call. But, any in person hearing must be held at a place reasonably convenient to you.
Appeal rights under the FAA are limited For Ciaims involving more than $50,000, any party may appeal the
What about v !.mited award to a panel of three TPAs chosen by the arbitration company. This panel will reconsider anything in the
appeais? ery l initial award that is appealed.~The panei’s decision will be tinai, except for any FAA appeal right. Any suitable
court may enter judgment upon the TPA's award
Arbitration Fees and Awards.
Question Short Answer Further Detaii
Who pays usua" we do We will pay all hiing, administrative hearing and TPA‘s fees if you act in good faith, cannotget a waiver of
arbitration fees'? y’ ' such fees, and ask us to pay.
When wm we c V r if you win an arbitration we will pay your reasonable fees and costs for attorneys experts, and witnesses We
Our le al fe ° ned if ou W.n will also pay these amounts if required by law or the arbitration company's rules or if payment is required to
:osts,?g es a y ' enforce this Ciause. The TPA will not limit the award of these amounts because your Dispute is for a small
amount
Yl`g‘;;°:r;;;:€$eor On|y for bad faith The TPA can require you to pay our fees if the TPA finds that you have acted in bad faith (according to

standards described in Federai Rule of Civil Procedure tl(b)) and this power does not void this Ciause.

 

Any comments or questions may be directed to Customer Service at the following toll-free number. (800)804-5368
TM-GA-CustomerAgr-V.2.2.03.03.2016

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ADDiTlONAL TERMS AND CONDlTlONS OF THlS WRiTTEN DiSCLOSURE TlCKET

 

 

You are entitled to an arbitration award of at least $7,500 if: (1) you give us notice of a Dispute only on your
Can a failure to own behalf and comply with the terms of this Clause; and (2) the TPA awards you money damages greater
resolve a Dispute than the last amount you requested at least ten days before the arbitration started This is in addition to the
informally mean a Yes attorneys' fees and expenses and expert witness costs to which you would be entitled This $7,500 minimum
larger recovery for award is a single award that applies to ali Disputes you have raised or could have raised Muiliple awards of
you? $7,500 are not considered by this Ciause. Settiement demands and offers are strictly confidential They may

not be used in any proceeding by either party except to justify a minimum recovery of $7,500.
Can an award be Yes A party may ask for an explanation from the TPA, within 14 days of the ruiing. Upon such request, the TPA
explained? will explain the ruling in writing.

 

 

 

 

 

Representations and Warranties. Pledgor attests that the lVlotor Vehicle is not stolen, it has no liens or encumbrances against it, and pledgor has the right to sell the
Motor Vehicie. By signing this Written Disclosure Ticket, Fiedgor attests that he or she is at least 18 years of age and is the tme owner of the Motor Vehicle. The
Pawnbroker will not lease back to the Pledgor the Motor Vehicle during this Pawn Transaction or during any extension or continuation of this Pawn Transaction. The
Pledgor does hereby acknowledge that he has inspected the Nlotor Vehicle and that such Motor Vehicle is in good repair and condition The Pledgor does hereby
assume and bear the entire risk of loss or damage to the Motor Vehicle while in his possession and does agree to indemnify and hold harmless the Pawnbroker from
any and ali property damages or personal injuries arising from the operation of the Motor Vehicie, inciuding, but not limited to, all lawsuits judgments attorneys fees
court costs, or any expenses that may be incurred The Pledgor agrees to maintain liability and casualty insurance with respect to the Motor Vehicle during the duration
of this Pawn Transaction. This Written Disclosure Ticket may only be amended as you and we agree in writing.

By signing this Written Disclosure Ticket you acknowledge that ii was hlied in before you did so and that you have received a completed copy of it. You also warrant
and represent that you are not a debtor under any proceeding in bankruptcy and have no intention to tile a petition for relief under any chapter of the United States
Bankruptcy Code. You further acknowledge that we are a Pawnbroker and that you are engaging in a Pawn Transaction with us (the terms of which are contained
herein) as allowed by O.C.GtA. §44-12~130 et seq. You further acknowledge that you have read, understand and agree to ali of the terms of this Written
Disclosure Ticket, including the above “Waiver of Jury Trial and Arbitration Ciause.”

nocuSIgne¢ by: Ti eof€aaozgia,= inc. d/b/a TilieMax
Wiiqu twthng B’ l{\M§y/,/
”W

DSF‘| CSBF§¢$CSABRS employee

Account Number”.

 

Co-P|edgor Signature

THlS DOCUMENT iS SUBJECT TO A SECURiTY lNTEREST lN FAVOR GF, AND PLEDGED AS COLLATERAL TO, WELLS FARGO BANK, NATIGNAL
ASSOCiATlON, AS COLLATERAL AGENT.

Any comments or questions may be directed to Customer Service at the following toll-free number. (800)804-5368
TM-GA~Customer Agr-V.2.2.03.03.2016 Page 5 of 5

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comment 1b JCEBoFaA?_Q THI§ I§ NOT A TITLE g
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PAWN TRANSACTlON DlSCLOSURE STATI~§MENT AND SECUR|TY AGREEM__ENT

THlS PAWN TRANSACTION DlSCLOSURE STATEMENT AND SECURITY AGREEMENT CONTA|NS A WAiVER OF
JURY TRiAL AND ARBlTRAT|ON CLAUSE (THE “CLAUSE”). UNLESS YOU OPT OUT OF THE CLAUSE, lT WlLL
SUBSTANTIALLY |MPACT YOUR RlGHTS lF YOU HAVE A DISPUTE WlTH LENDER, lNCLUD|NG VOUR R|GHT TO

TAKE PART IN A CLASS ACTlON.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Original Account #: l Account #: l Pawn Ticket #: Pawn Date: Pawn Time: Maturity Date:
l 04/30/2018 10:59 Al\ll 05/30/2018

Pawnbroker: Vehicle identification #: Vehicle Title #:

Tifl€l\fla>< Of Georgia inc. d/b/a TiTLEMAX zecEciszeeisseeoe 771155172511970

108 ALL|SON STREET Vehicle Year: Title State: Lic. Piate #:

JESUP, GA 31545 2096 GA

§912) 421:/'33837 t_ _ Vehicle Make: Vehicle Color: Oclometer:

°“'S ° pe_'a '°"' chevroiei RED 157215
Monday to Fnday 9 a»m- 'fO 7 P-m-, Vehicle Ntodel: # of Doors: # of Cylinders:
Saturday 10 a.m. to 2 p.m., Closed Sunday Snverado 1500 Unknown
Pledgor: Sex: Nl Co-Pledgor: Sex:

ROBERT JAMES THOMPSON iii SSN: N/A SSN:
1219 OAK ST ***-**-3767
JESUP, GA 31545 Race; Race:
Date of Birth: Whne /Caucasian Date of Birth: N/A
lD Number: Height: Weight: lD Number: Height: Weight:
505 200 LBS LBS

 

 

 

 

 

 

 

 

ln this Pawn Transaction Disclosure Statement and Security Agreement (this “Agreement”), “you,” “your,” “pledgor,’l and
“co-p/edgor” each means the Pledgor(s) identified above. "Pawnbrolrer,” “We," “us," and “oui’"each mean Titlel\llax of
Georgia, lnc. “Pawn” and “Transaction" mean the pawn transaction entered into between Pawnbroker and Pledgor
hereunder. “Vehicle” means the motor vehicle described above. “Tit/e" means the certihcate of title for the Vehicle.
Pawnbroker operates under Georgia law applicable to pawnbrokers, including, without limitation, O.G.C.A. § 44-12-130 et

seq. and O.G.C.A. § 44-14-400 et seq.

 

This is a pawn transaction. Failure to make your payments as described in this document can result in the loss of the
pawned item. The pawnbroker can sell or keep the item if you have not made all payments by the specified maturity
date. Failure to make your payment as described in this document can result in the loss of your motor vehicle. The
pawnbroker can also charge you certain fees if he or she actually repossesses the motor vehicle.

 

FEDERAL TRUTH~lN-LEND|NG DlSCLOSURES

 

 

 

ANNUAL

 

 

PERCENTAGE R 2 TE`
The cost of your credit as

  

FlNANCE CHARGE

The dollar amount the
credit will cost you

$386 89

 

` ;_y The amount of credit
provided to you or on

 

Amount Financed

 

your behalf all payments as
scheduled
$3,338.44 $3,705.33

Total of Payments

The amount you will have
paid after you have made

 

 

 

 

 

Payment Schedule:

Your payment schedule Wi|l be:

 

Number of Payments

Amount of Payments

When Payments Are Due

 

'l

 

33,705.33

 

 

05/30/2018

 

 

Security:
Lien Filing Fee:
Prepayment:

 

You are giving a security interest in the Vehicle described above.

$0.00
lt you pay off early, you will not be entitled to a refund of part of the finance charge.

See the remainder of this Agreement for additional information about non-payment default, any required
repayment in full before the scheduled date, and prepayment penalties

 

 

TM~TB - Georgia Pawn Transaction Agreerrf

  
 

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itemization of Amount Financed:
Amount given to you directly: $500_00
E_lus_: Amount paid on my account (Transaction # ) $2’333_44
El_u_s: Amount paid to public official for Lien Filing Fee $0_00
Elg: Amount paid to others on your behalf:
Payment to: N/A $0.00
Payment to: N/A
Eguals: Amount Financed/Principal Amount $3,333_44
1. Pawn and Security Agreement; Lien Filing Fee; Possession of Title: You promise to pay Pawnbroker, or

to Pawnbroker’s order, the principal sum of $3,338.44 plus a Pawnshop Charge in the amount of $366.89 , with the
total amount of $3,705_33 (being the amount to redeem the Vehicle) due and payable on 05/30/2018 (the “Maturity
Date"). The Pawnshop Charge is further described in Section 2. You also promise to pay all other amounts that become
due and payable under this Agreement To secure Pledgor’s obligations to Pawnbroker hereunder, Pledgor grants to
Pawnbroker a security interest in the Vehicle and the Titlel together with all Vehicle improvements attachmentsl
insurance proceeds and refunds and sale proceeds You agree that Pawnbroker Will record its security interest in the
Vehicle by noting a lien on the Title. Pawnbroker charges the Lien Filing Fee identified above to register its lien on the
Vehicle (Which Lien Fi|ing Fee will not exceed any fee actually charged by the appropriate state to register such lien and
will only be charged if Pawnbroker actually registers such lien). Pawnbroker may file any documents and take any actions
to ensure Pawnbroker’s security interest in the Vehicle. lf Pawnbroker asks, you will sign other documents and take other
actions to support Pawnbroker's security interest You agree that We shall hold the Title for the entire length of this
Agreement

2. Pawnshop Charge: The Pawnshop Charge for the initial BO-day period of the Pawn Transaction is 10.9900 %
of the principal amount advanced, with a minimum Pawnshop Charge of $t 0.00 for such period. The Pawnshop Charge
shall be deemed earned, due, and owing as of the Pawn Date. lt this Agreement is continued and extended as provided
in Section 4, the Pawnshop Charge for the first two extension periods Will be10.9900 % of the principal amount
outstanding, with a minimum Pawnshop Charge of $‘l 0.00 for such period For extensions that continue the Pawn beyond
the first three 30-day periods, the Pawnshop Charge for each subsequent 30-day period will not exceed 12.5% of the
principal amount outstanding, with a minimum Pawnshop Charge of $5.00 for each such period.

The Annual Percentage Rate (“APR”) for the initial 30~day period of this Pawn, and each of the first two renewal
periods thereafter, is 133.71 %, and the amount to redeem the Vehicle during each such period is $3,705.33 . The
foregoing APR and redemption amount are calculated assuming that the principal of the Pawn will not be increased or
decreased after the Pawn Date and that you will pay all Pawnshop Charges in full and on time. After the first three 30-day
terms of this Pawn, for each subsequent 30-day term, assuming that the principal of the Pawn will not be increased or
decreased after the Pawn Date, that you will pay all Pawnshop Charges in full and on time, and that the periodic
Pawnshop Charge is equal to 10.9900 % of the principal amount advanced, the APR for each 313-day term is

133.71 % and the amount to redeem the Vehicle during each such period is $3,705.33 . lf you pay any amount to
reduce the principal amount of the Pawn or borrow additional funds and sign a new Agreement, the foregoing disclosures
no longer apply.

3. Right to Cancel; Prepayment, Payments, and Application of Payments; Redemption: You may cancel
this Agreement by returning the check by which we disbursed the Pawn proceeds to you or an equivalent amount of cash
to us by the close of business on the business day following the date of this Agreement lf you timely cancel by returning
the proceeds We will credit the finance charge We earned when you signed this Agreement and your obligations
hereunder will terminate You may prepay in full at any time Without additional charge, fee or penalty. lf you prepay the
Pawn in full, then you will not be entitled to a rebate and/or refund of any part of the Pawnshop Charge for this Pawn.

Pawnbroker accepts payments by cash, cashier’s check, money order, debit card or other method specified by
Pawnbroker from time to time. lf we are not open on a payment due date, We will treat payments made on the next
business day as timely made. The truth-in-lending disclosures provided above assume that you will pay all amounts owing
hereunder on the Maturity Date. We apply payments first to the outstanding Pawnshop Charge and then to principal

You have the exclusive right to redeem the Vehicle and Title by repaying the Pawn in full and complying with this
Agreement Upon the payment in full of all amounts owing hereunder, we will release the security interest iri the Vehicle
and return the Title to you unless the Vehicle and/or the Title have been taken into custody by a court or by a law
enforcement ofhce or agency. Any person presenting proper identification as Pledgor and this Agreement to Pawnbroker
shall be presumed to be the Pledgor and shall be entitled to redeem the Vehicle and Title pledged hereunderl

4. lnitial Term; Extension and Continuation: The initial term of the Pawn is 30 days, and the Pawn may be
extended and continued for additional 30-day periods with the agreement of Pledgor and Pawnbroker. We may agree to
extend the Maturity Date in our discretion. As a condition to extending the Maturity Date, for the initial extension and each

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subsequent extension, you must pay an amount equal to the then outstanding Pawnshop Charge (including any charges
accrued after the Maturity Date, as described in Section 6 below), and (b) satisfy Pawnbroker's applicable criteria for
extensions if you do not request additional funds as part of your extension request, then the original Pawn will be
continued and the Maturity Date Will be extended lf you request additional funds as part of your extension request, then
you will be required to enter into a new Pawn Transaction Disclosure Statement and Security Agreement This
Agreement remains in full force and effect during any extension and continuation

5. Non-Recourse: This Pawn is non-recourse to you. You shall have no obligation to redeem the Vehicle or
make any payment on this Pawn. Nothing in this Agreement gives us any recourse against you personally other than our
right to take possession of the Vehicle upon your default, and to sell or otherwise dispose of the Vehicle in accordance
with Georgia law.

6. Default and Grace Period; Additional Charges: lf you choose not to redeem the Vehicle on or before the
Maturity Date or extend the Maturity Date as provided in Section 4, then you will be in default Upon default Pawnbroker
may take possession of the Vehicle. You will have a grace period of 30 calendar days following the Maturity Date (as
extended) to redeem this Pawn. lf the last day of the grace period falls on a non-business day, the grace period will
extend to the next business day. During any such grace period, Pawnbroker will not sell the Vehicle, The Vehicle and
Title may be redeemed within the grace period by the payment of any unpaid accrued Pawnshop Charges and fees
(including, if applicable, the fees described in Section 7), the repayment of the principal, and the payment of an additional
interest charge not to exceed 12.5 percent of the principal. To redeem the Vehicle and Title in the grace period
immediately following the Maturity Date specihed above, you must pay a redemption amount of $4,189.41 . You must
contact Pawnbroker to obtain the amount to redeem the Vehicle and Title during a grace period that follows an extended
maturity date. lf the Vehicle and Title are not redeemed within the grace period, the Pledgor's ownership interest in the
Vehicle and Title are automatically extinguishedl and the Vehicle and Title become the property of Pawnbroker.

7. Recovery and Costs of Recovery; Sale of the Vehic|e: Followtng default, we or our agent may take
possession of the Vehicle with judicial process or without judicial process, if doing so without judicial process can be done
without breaching the peace. You agree to pay any recovery fee we incur if we or our agent recovers the Vehicle after
default The amount of the recovery fee is based on the distance traveled to recover the Vehicle, as follows: (a) $50.00, if
the Vehicle is recovered within 50 miles of the Pawnbroker location identified above; (b) $100.00, if the Vehicle is
recovered within 51 to 100 miles of the Pawnbroker location identified above; (c) $150.00 if the Vehicle is recovered within
101 to 300 miles of the Pawnbroker location identified above; and (d) $250.00 if the Vehicle is recovered beyond 300
miles of the Pawnbroker location identified above. You also agree to pay a storage fee for a recovered Vehicle not to
exceed $5.00 per day for each day that the Vehicle is actually stored We may not charge a storage fee unless we
recover the Vehicle after default lf there are personal possessions in the Vehicle that you request to be shipped to you,
you agree to pay the actual shipping costs incurred by Pawnbroker plus a handling fee equal to no more than 50 percent
of the actual costs to ship such items

8. Lost or Destroyed Agreement: lf this Agreement is lost or destroyed Pledgor must notify Pawnbroker in
Writing, and receipt of such notice shall invalidate this Agreement if the Vehicle and Title have not previously been
redeemed Before delivering the Vehicle and Title or issuing a new Agreement, Pledgor must make a statement of the
loss or destruction of the Agreement, which Pawnbroker Will record We may impose a $2.00 fee in connection with each
lost or destroyed Agreement

9. Waivers: if Pawnbroker delays or does not enforce it rights every time, Pawnbroker can still do so
later. Pawnbroker need not sue, arbitrate or show diligence in collecting against you or others. Pawnbroker may
sue or arbitrate with a person without joining or suing others. Pawnbroker may release or modify a person’s
liability without changing other persons’ tiability.

10. Communications: Send all communications to Pawnbroker, including bankruptcy notices, to Titlellllax
of Georgia, inc., Legai Department, P.O. Box 8323, Savannah, Georgia 31412 (the “Notice Address”). Send all
notices to Pledgor to the address above or any other address you give to Pawnbroker in writing (“Pledgor
Address”). lt you believe that you have been the victim of identity theft in connection with your Pawn, write to us
at the Notice Address. ln your letter: (a) provide your name and Pawn transaction number; and (b) submit an
identity theft affidavit or identity theft report. You may contact customer service at 1-300-304-5363 .

11. Notice and Cure: Before suing or starting arbitration about (i) Pledgor’s credit application, (ii) this Agreement,
(iii) the Vehicle, or (iv) the Pawn, each party agrees to do all of the following:

a. The party filing the dispute (the “Claimant”) must tell all other parties (the “Defending Party“) of the dispute
(the “Dispute Notice"). Each Dispute Notice must describe the nature of the claim and relief requested Each Dispute
Notice must be written and, except for Pawnbroker collections letters, must give at least 30 days to solve the dispute.

b. Claimant must mail Dispute Notices to the Notice Address for Pawnbroker and the Pledgor Address for
Pledgor. Dispute Notices to Pawnbroker must include the Pawn transaction number and Pledgor's mailing address and
phone number.

c. lf Defending Party asks for more information about the dispute, Claimant must give it.

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12.

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Reporting to Credit Bureaus: Pawnbroker may report information about this Pawn to credit bureaus.

Your credit report may reflect late payments, missed payments or other defaults on your account.

13.

important lnformation About Opening Accounts: To help tight terrorism and money laundering,

Pawnbroker must identify each person who opens an account You must give Pawnbroker your name, address, date of
birth and other requested information and documents, such as your driver’s license.

14. Telephone Recording: Pawnbroker may monitor and record any phone conversation Pawnbroker and you

have.
15.

Severability: lnvalid terms hereof vw`ll be changed to comply with law. Such change will not affect any other

term hereof. lf a class action suit or class-wide arbitration is allowed, either party may require that a judge (with no jury)
hear the dispute Such judge will apply relevant court rules and procedures

16.

Successors and Assigns: This Agreement binds your heirs, successors and assigns and Pawnbroker’s

successors and assigns Pawnbroker may assign all of its rights hereunder. Following any assignment by Pawnbroker,
the Pawn remains in full force and effect and due and payable in accordance with its terms. Pledgor may not assign its
rights hereunder without Pawnbroker's written consent

17.

Governing Law: This Agreement and the Pawn involve interstate commerce. Georgia law governs this

Agreement, but the Federal Arbitration Act governs the Waiver of Jury Trial and Arbitration Ciause in Section 19.

18.

JURY TR|AL WAlVER: YOU AND WE ACKNOWLEDGE THAT THE RIGHT TO TRiAL BV JURY lS A

CONST|TUT|ONAL RiGHT. THlS RlGHT MAY BE WAiVED UNDER CERTA|N CONDlT|ONS AS ALLOWED BY LAW.
YOU AND WE KNOWiNGLY AND VOLUNTARiLY WAlVE ANY RlGHT TO TRiAL BY JURY lN THE EVENT OF
LlTlGATlON ARlSlNG OUT OF OR RELATED DiRECTLY OR lNDlRECTLY TO EACH OF THE FOLLOW|NG: (A) THlS
AGREEN|ENT; AND (B) THE PAWN THAT lS THE SUBJECT OF THlS AGREEMENT. THlS JURY TR|AL WA|VER
WlLL NOT CHANGE ANY ARB|TRAT|ON CLAUSE TO WHlCH YOU AND WE ARE SUBJECT, WHlCH CONTAlNS
iTS OWN SEPARATE JURY TRIAL WAiVER.

19.

WAiVER OF JURY TRlAL AND ARB|TRAT|ON CLAUSE: By signing below, you agree to this Waiver of Jury

Trial and Arbitration Ciause (“Clause”). We have drafted this Ciause in question and answer form so it is easier to

 

 

understand This Clause is part of this Agreement and is legally binding.

 

 

Question

Short Answer

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Further Detail

 

What is a Dispute?

A disagreement

ln this Clause, "Dispute” has a broad meaning. “Di`spute" includes all
claims and disagreements related to your applicationl this Agreement,
the Vehicle, the Transaction, or your relationship with Pawnbroker. lt
includes claims and disagreements about any prior applications and
agreements lt includes extensions, renewals, retinancings, and
payment plans. lt includes claims related to collections, privacy, and
customer information lt includes claims and disagreements that
usually would be resolved in court “Dispute” also includes claims and
disagreements you have with Related Parties.

 

Who is a “Related
Part ’?

Usually a person or
company related to
Pawnbroker

“Related Parties” are Pawnbroker’s affiliates They also are
employees, directors, officers, shareholders members, and
representatives of Pawnbroker and its affiliates "Related Parties" also
means any person or company involved in a Dispute you pursue while
you pursue a Dispute with Pawnbroker (like a repossession company).

 

What is
arbitration?

An alternative to
court

ln arbitration, a third party arbitrator (“TPA”) solves Disputes in a
hearing (“hearing”), lt is less formal than a court case.

 

 

ls it different from Yes The hearing is private. There is no jury. lt is usually less formal, faster,
court and jury and less costly than a lawsuit Pre-hearing fact finding is limited
trials? Appeais are limited Courts rarely overturn arbitration awards

Can you opt-out of Yes, within 60 days lf you do not want this Ciause to apply, you have 60 days from the
this Clause? Transaction Date to opt out. To opt out, you must tell Pawnbroker by

a writing you send to the Notice Address. You must give your name,
address, Transaction number and Transaction Date, You must state
that you “opt out” of this Clause. You may not send your notice
electronically.

 

What is this Ciause
about?

 

 

This is an agreement
to arbitrate Disputes

 

Pawnbroker and you agree that any party may demand arbitration of
or arbitrate any Dispute unless you opt out or the law does not allow it.

 

 

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Who does the
Ciause cover?

Pawnbroker and you

This Ciause covers Pawnbroker and you. This Ciause also applies if
you have a Dispute with a Related Party related in some way to your
application, this Agreement, the Vehicle, the Fawn, or your dealings
with Pawnbroker. Related Parties are not bound by this Clause. You
may not compel a Related Party to arbitration, A Related Party may
compel you to arbitrate Disputes covered by this Clause.

 

What Disputes
does the Ciause
cover?

Most Disputes that
would normally go to
court (except certain
Disputes about this
Clause)

This Ciause covers Disputes that involve Pawnbroker (ora Related
Party) and you. This Ciause does not cover disputes about the validity,
coverage, or scope of this Ciause or any part of this Clause. These are
for a court and not the TPA to decide. Also, this Ciause does not cover
any case you file to stop Pawnbroker from taking or selling the
Vehicle,

 

 

the arbitration?

Who handles the Usually JAMS Arbitrations must be conducted under this Clause. The arbitration
arbitration? company will be either:
- JAMS, 620 Eighth Avenue, 34th Floor, New York, NY 10018,
www.jamsadr.org; or
- Any other company the parties choose together.
if either option is unavailable, the parties may agree to an independent
TPA or a court will pick the TPA or arbitration company. No arbitration
may be held without Pawnbroker’s consent by an arbitration company
or TPA that would allow class arbitration under this Clause. The TPA
will be selected under the arbitration company's rules. Unless
Pawnbroker and you agree otherwise, the TPA must be a lawyer with
10 or more years of experience or a retired judge.
What rules apply to Usually, the lf the parties use an arbitration company such as JAMS, that

arbitration company
rules

company’s consumer arbitration rules will apply. lf the parties chose
an independent TPA, then such TPA will follow the JAMS consumer
arbitration rules. ln any case, the TPA Wil| not apply any state'or
federal rules of civil procedure or evidence Arbitration rules that
conflict with this Ciause do not apply,

 

Can Disputes be
brought to court?

Sometimes

Either party may sue if the other party does not demand arbitration,
Pawnbroker will not demand arbitration of any lawsuit you bring for
yourself in small claims court But, Pawnbroker may demand
arbitration of any appealed small claims decision or any small claims
action brought as a class.

 

Are you giving up
any rights?

Yes

For Disputes subject to this Clause. you give up your right to:
1. Have a jury decide Disputes

2. Have a court, other than a small claims court, decide
Disputes

3. Serve as a private attorney general or in a representative
capacity.
4. Join a Dispute you have with a dispute by other consumers

5. Bring or be a class member in a class action or class
arbitration,

Pawnbroker also waives its jury trial right and its right to have a court
decide Disputes Pawnbroker starts.

 

Can you or anyone
else start class
arbitration?

No

The TPA may not handle a class or representative Dispute. All
Disputes under this Ciause must be arbitrated or decided by individual
small claims case. This Ciause will be void if a court allows the TPA to
decide a Dispute on a class basis and such ruling is not reversed on
appeaL

 

What law applies?

 

 

The Federal
Arbitration Act
((¢FAA”)

 

The FAA governs this Clause. The TPA must apply law consistent with
the FAA. The TPA must honor statutes of limitation and privilege
rights Constitutional standards that apply in court proceedings govern
punitive damage awards.

 

 

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Will anything you
do negate this

No, though you can
opt out

This Ciause stays in force if you: (1) cancel the Pawn; (2) default,
renew, prepay or pay the Pawn in full; or (3) go into bankruptcy You

 

 

Clause? can opt out as described above
t 1 - l ~. » l ~; ¢ PROCESS `
Question Short Answer Further Detaii

 

 

What must be done
before starting a
lawsuit or
arbitration?

Send a written
Dispute Notice and
work to resolve the
Dispute

Before starting a lawsuit or arbitration, Claimant must give a Dispute
Notice as Section 11 above requires if you are the Claimant, you or
your attorney must sign the Dispute Notice. You must give the Pawn
number and a contact number for you or your attorney. Collections
letters from Pawnbroker are Dispute Notices Each Dispute Notice
(other than collections letters), must give at least 30 days to settle the
dispute.

 

How does
arbitration start?

Following the rules
of the arbitration
company

lf the parties do not settle the Dispute within the 30-day period,
Claimant may file a small claims case or start arbitration To start
arbitration, the Claimant picks the arbitration company. lf one party
sues or threatens to sue, the other party can demand arbitration This
demand can be made in court papers lt can be made if a party sues
on an individual basis and then tries to pursue a class action. Once an
arbitration demand is made, no suit can be brought and any current
suit must stop.

 

Will any hearing be
held nearby?

Ves

Any iri-person hearing must be at a place convenient to you. The TPA
may decide that an in-person hearing is not needed. A Dispute may
be resolved in writing and by conference call.

 

What about
appeals? _

Very limited

The FAA limits appeal rights For Disputes over $50,000, any party
may appeal the award to a panel of three TPAs. The arbitration
company or the parties choose the panel. This panel will review
anything appealed in the initial award. The panel's decision will be
f nal except for any FAA appeal right. Any suitable court may enter
judgment upon the TPA panel's award

 

 

ARBlT

RAT|ON FEES AND AWARDS

 

Question `

’;snort Answer

 

Further Detaii

 

Who pays fees of
arbitration?

Usually, Pawnbroker
does

Pawnbroker will pay all filing, hearing and TPA fees if you act in good
faith, you cannot get a fee waiver and you ask Pawnbroker to pay.

 

When will
Pawnbroker cover
your legal fees and
costs?

lf you win

if the TPA finds for you, Pawnbroker will pay your reasonable fees and
costs for attorneys experts and witnesses Pawnbroker also will pay
these costs if the law or the TF’A rules require or if required to enforce
this Clause. Even if your Dispute is for a small amount, the TPA will
not limit the award of such costs

 

Will you ever owe
Pawnbroker for
fees?

lf you act in bad faith

The TPA can make you pay Pawnbroker’s arbitration, attorney, expert
and witness fees if it finds that you have acted in bad faith (per the
Federal Rules of Civil Procedure § 11(b) standard). This power does
not void this Clause.

 

 

explained?

 

 

Can a failure to \(es lf Pledgor wins the arbitration, Pledgor may be entitled to a minimum

resolve a Dispute award of $7,500. To get the minimum award, you first must comply

informally mean a with this Clause. Secondly, the TPA must award money damages to

larger recovery for you in an amount that is greater than the last amount you asked for in

you? settlement if you asked for such amount at least ten days before
arbitration began. The base award is separate from attorneys' fees
and expenses and expert witness costs which you may get. The
minimum award applies to all Disputes you raise or could raise. This
Ciause does not allow multiple awards of $7,500. Settlement
demands and offers are confidential. They may not be used in any
way by either party except to support a minimum award.

Can an award be Yes Within 14 days of the ruling, a party may ask the TPA to explain its

 

 

ruling. Upon such request, the TPA will explain the ruling in writing.

 

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20. Pledgor Acknowledgments and Representations: By signing this Agreement, pledgor represents warrants
acknowledges and agrees as follows:

a. All information you gave to Pawnbroker in your application is true, complete and correct
b. You will not apply for a duplicate certihcate of title while this Agreement is in effect

c. You have received an exact copy of this fully completed Agreement This Agreement was filed in before
you signed it.

d. You have read understand and agree to this entire Agreement, including the Waiver of Jury Trial and
Arbitration Ciause in Section 19. You may opt out of arbitration as described in Section 19. if you do not timely opt out of
arbitration, your right to sue Pawnbroker is limited

e. You are 18 years of age or older. You are not intoxicated You have full legal authority and capacity to
sign this Agreement

f. You have received Pawnbroker's Privacy Policy.

g. You are not a debtor in bankruptcy You do not intend to file a federal bankruptcy petition
h. You are a rightful owner of the Vehicle,

i. The Vehicle is not stolen and it has no liens or encumbrances against it.

j. You have inspected the Vehicle, and it is in good repair and condition

k. You are liable for Vehicle damage and loss You hold Pawnbroker harmless for all claims and costs
arising from your using the Vehicle, including all judgments attorneys’ fees, court costs and expenses

l. You are not a debtor in bankruptcy. You do not intend to file a federal bankruptcy petition

21. Entire Agreement: This Agreement is the only agreement between Pawnbroker and Pledgor for this Pawn.
Pawnbroker and Pledgor have no oral agreements about this Pawn. l_ender and Pledgor may change this Agreement
only by a writing signed by all of the undersigned

PLEDGOR; ROBERT JAMES THOMPSON iii By signing this Agreement, Pawnbroker agrees to be
bound by this Agreement, including the Waiver of

Docusmned by: J`ury Trial and Arbitration Clause.

; \ 4/30/2018

E|edgor Signature Date LENDER=
' T|TLEMAX OF GEORG|A, lNC. D/B/A TlTLEMAX

 

CO-PLEDGOR: N/A

DocuSigned by:
‘€n'ca foster

Duly Authorized

By:

 

 

Co-Pledgor Signature Date

THlS DOCUMENT lS SUBJECT TO A SECURlTY lNTEREST lN FAVOR OF, AND PLEDGED AS COLLATERAL TO,
WELLS FARGO BANK, NATlONAL ASSOCl/-\TlON. AS COLLATERAL AGENT.

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IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA

BRUNSWICK DIVISION
IN RE: ROBERT J. THOMPSON, Hl : CHAPTER 13
DORC)THY THOMPSON ’
Debtors, CASE NO. 18-20369-MJK

 

TITLEMAX OF GEORGIA, lNC.,

Movant,

JUDGE MICHELE J. KIM
vS.

ROBERT J. THOMPSON, HI
DOROTHY THOMPSON
M. ELAINA MASSEY, Trustee,

CERTIFICATE ()F SERVICE

This is to certify that l have this day Served the following parties in this matter With a copy of
the Within and foregoing Motion for Relief from Automatic Stay by depositing a true and correct
copy in the U.S. Mail with sufficient postage affixed thereto and properly addressed or served
electronically via the Court’s CM/ECF system to the parties listed below:

Joelyri W. Pirkle, Esq. M. Elaina Massey
joelynpirkle@gmail.com noticing@chl 3bwl<.com

Robert J. Thompson, 111

 

Dorothy Thompson
Oft`ice of the U.S. Trustee 1219 Oak Street
ustpregionZl .sv.ecf@usdoj.gov Jesup, GA 31545
This 24th day of July, 2018
THE BOWEN LAW GROUP
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